Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2381 Filed 02/24/12 Page 1 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2382 Filed 02/24/12 Page 2 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2383 Filed 02/24/12 Page 3 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2384 Filed 02/24/12 Page 4 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2385 Filed 02/24/12 Page 5 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2386 Filed 02/24/12 Page 6 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2387 Filed 02/24/12 Page 7 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2388 Filed 02/24/12 Page 8 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2389 Filed 02/24/12 Page 9 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2390 Filed 02/24/12 Page 10 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2391 Filed 02/24/12 Page 11 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2392 Filed 02/24/12 Page 12 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2393 Filed 02/24/12 Page 13 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2394 Filed 02/24/12 Page 14 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2395 Filed 02/24/12 Page 15 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2396 Filed 02/24/12 Page 16 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2397 Filed 02/24/12 Page 17 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2398 Filed 02/24/12 Page 18 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2399 Filed 02/24/12 Page 19 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2400 Filed 02/24/12 Page 20 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2401 Filed 02/24/12 Page 21 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2402 Filed 02/24/12 Page 22 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2403 Filed 02/24/12 Page 23 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2404 Filed 02/24/12 Page 24 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2405 Filed 02/24/12 Page 25 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2406 Filed 02/24/12 Page 26 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2407 Filed 02/24/12 Page 27 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2408 Filed 02/24/12 Page 28 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2409 Filed 02/24/12 Page 29 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2410 Filed 02/24/12 Page 30 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2411 Filed 02/24/12 Page 31 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2412 Filed 02/24/12 Page 32 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2413 Filed 02/24/12 Page 33 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2414 Filed 02/24/12 Page 34 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2415 Filed 02/24/12 Page 35 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2416 Filed 02/24/12 Page 36 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2417 Filed 02/24/12 Page 37 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2418 Filed 02/24/12 Page 38 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2419 Filed 02/24/12 Page 39 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2420 Filed 02/24/12 Page 40 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2421 Filed 02/24/12 Page 41 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2422 Filed 02/24/12 Page 42 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2423 Filed 02/24/12 Page 43 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2424 Filed 02/24/12 Page 44 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2425 Filed 02/24/12 Page 45 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2426 Filed 02/24/12 Page 46 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2427 Filed 02/24/12 Page 47 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2428 Filed 02/24/12 Page 48 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2429 Filed 02/24/12 Page 49 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2430 Filed 02/24/12 Page 50 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2431 Filed 02/24/12 Page 51 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2432 Filed 02/24/12 Page 52 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2433 Filed 02/24/12 Page 53 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2434 Filed 02/24/12 Page 54 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2435 Filed 02/24/12 Page 55 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2436 Filed 02/24/12 Page 56 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2437 Filed 02/24/12 Page 57 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2438 Filed 02/24/12 Page 58 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2439 Filed 02/24/12 Page 59 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2440 Filed 02/24/12 Page 60 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2441 Filed 02/24/12 Page 61 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2442 Filed 02/24/12 Page 62 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2443 Filed 02/24/12 Page 63 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2444 Filed 02/24/12 Page 64 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2445 Filed 02/24/12 Page 65 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2446 Filed 02/24/12 Page 66 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2447 Filed 02/24/12 Page 67 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2448 Filed 02/24/12 Page 68 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2449 Filed 02/24/12 Page 69 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2450 Filed 02/24/12 Page 70 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2451 Filed 02/24/12 Page 71 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2452 Filed 02/24/12 Page 72 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2453 Filed 02/24/12 Page 73 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2454 Filed 02/24/12 Page 74 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2455 Filed 02/24/12 Page 75 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2456 Filed 02/24/12 Page 76 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2457 Filed 02/24/12 Page 77 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2458 Filed 02/24/12 Page 78 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2459 Filed 02/24/12 Page 79 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2460 Filed 02/24/12 Page 80 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2461 Filed 02/24/12 Page 81 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2462 Filed 02/24/12 Page 82 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2463 Filed 02/24/12 Page 83 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2464 Filed 02/24/12 Page 84 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2465 Filed 02/24/12 Page 85 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2466 Filed 02/24/12 Page 86 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2467 Filed 02/24/12 Page 87 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2468 Filed 02/24/12 Page 88 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2469 Filed 02/24/12 Page 89 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2470 Filed 02/24/12 Page 90 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2471 Filed 02/24/12 Page 91 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2472 Filed 02/24/12 Page 92 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2473 Filed 02/24/12 Page 93 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2474 Filed 02/24/12 Page 94 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2475 Filed 02/24/12 Page 95 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2476 Filed 02/24/12 Page 96 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2477 Filed 02/24/12 Page 97 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2478 Filed 02/24/12 Page 98 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2479 Filed 02/24/12 Page 99 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2480 Filed 02/24/12 Page 100 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2481 Filed 02/24/12 Page 101 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2482 Filed 02/24/12 Page 102 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2483 Filed 02/24/12 Page 103 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2484 Filed 02/24/12 Page 104 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2485 Filed 02/24/12 Page 105 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2486 Filed 02/24/12 Page 106 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2487 Filed 02/24/12 Page 107 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2488 Filed 02/24/12 Page 108 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2489 Filed 02/24/12 Page 109 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2490 Filed 02/24/12 Page 110 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2491 Filed 02/24/12 Page 111 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2492 Filed 02/24/12 Page 112 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2493 Filed 02/24/12 Page 113 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2494 Filed 02/24/12 Page 114 of 115
Case 2:09-cv-14468-PJD-MJH ECF No. 134-2, PageID.2495 Filed 02/24/12 Page 115 of 115
